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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
                                               )
                                               )      Docket No. 3:17CR8
 v.                                            )
                                               )
 JERMEL COLEMAN                                )
                                               )

                    NOTICE OF NO SUPPLEMENTAL FILING

       Mr. Coleman filed a pro se motion seeking compassionate release on January

 29, 2021, and this Court appointed the Federal Public Defender’s office to review his

 case and make a supplemental filing on his behalf if appropriate. Counsel

 respectfully notifies the Court that counsel will not be supplementing Mr.

 Coleman’s pro se motion, and asks the Court to allow Mr. Coleman to proceed pro

 se.

                                         Respectfully submitted,

                                         JERMEL COLEMAN
                                         By Counsel
 Counsel:
 /s Erin Trodden
 Erin Trodden (VSB No. 71515)
 Assistant Federal Public Defender
 Office of the Federal Public Defender
 401 E. Market St, Ste 106
 Charlottesville, VA 22902
 Tel (434) 220-3380




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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2021, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system which will send notification

 of such filing to the following: counsel of record; and I hereby certify that I have

 mailed by United States Postal Service the document to the following non-CM/ECF

 participants: none.




                                                 s/ Erin Trodden
                                                 Asst. Federal Public Defender




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